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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 24-CR-20311-KMW

 UNITED STATES OF AMERICA

 vs.

 FRANCISCO TEODORO TAVAREZ MENDEZ,
     a/k/a “Kiko,” and
 PEDRO JUAN DOMINGUEZ,
     a/k/a “Perucho,”

               Defendant.
                                             /

                                NOTICE OF APPEARANCE

        Assistant United States Attorney Jorge R. Delgado appears as counsel for the United

 States of America regarding any forfeiture issues in the above-styled case.

                                                   Respectfully submitted,

                                                   MARKENZY LAPOINTE
                                                   UNITED STATES ATTORNEY

                                            By:    s/ Jorge R. Delgado
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